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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF NEW YORK



CHRISTINA LEWIS, Individually and on Behalf
of All Others Similarly Situated,
                                              Civ. A. No. 1:19-cv-00001-GTS-ATB
                    Plaintiff,

      v.

YRC WORLDWIDE INC., JAMES L. WELCH,
JAMIE G. PIERSON, and STEPHANIE D.
FISHER,

                    Defendants.




            MEMORANDUM OF LAW IN FURTHER SUPPORT
     OF THE MOTION OF THE CITY OF WARWICK RETIREMENT FUND
FOR APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF ITS SELECTION
    OF LEAD COUNSEL, AND IN OPPOSITION TO COMPETING MOTIONS
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I.      PRELIMINARY STATEMENT

        In addition to the motion of the City of Warwick Retirement Fund (“Warwick”) for

appointment as lead plaintiff and lead counsel (ECF No. 6), presently pending before the Court is

one other competing motion. ECF No. 9. 1 The Private Securities Litigation Reform Act of 1995

(“PSLRA”) provides that the Court “shall adopt a presumption that the most adequate plaintiff” is

the person that “has the largest financial interest in the relief sought by the class” and that

“otherwise satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure.”

15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). Of the two lead plaintiff motions currently pending before this

Court, Warwick is the only lead plaintiff movant that has the largest financial interest and that also

satisfies the typicality and adequacy requirements of Rule 23. Therefore, Warwick is entitled to

the presumption that it is the “most adequate plaintiff” and should be appointed as lead plaintiff.

Warwick, a Rhode Island pension fund with approximately $128,000 in losses in YRC securities

and an experienced fiduciary, is precisely the type of lead plaintiff that Congress sought to

empower through the enactment of the PSLRA. Warwick has selected Kaplan Fox & Kilsheimer

LLP, a firm that has decades of experience in securities litigation, as its counsel and proposed lead

counsel for the proposed class.

        While the so-called “YRC Investor Group” asserts that it has a larger financial interest

than Warwick, it fails to satisfy its burden to show that it is adequate under Rule 23, and therefore,

the YRC Investor Group is not entitled to the presumption that it is the “most adequate plaintiff.”

The burden of proof is on each movant and the PSLRA “does not permit courts simply to

‘presume’ that the movant with ‘the largest financial interest in the relief sought by the class’



 1
  On March 25, 2019, individual movant Gary Orpana withdrew his motion for appointment as
 Lead Plaintiff and approval of his selection of Lead Counsel. ECF No. 30.


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satisfies the typicality and adequacy requirements.” In re Cendant Corp. Litig., 264 F.3d 201, 264

(3d Cir. 2001). Courts in the Second Circuit routinely deny appointment of groups of unrelated

individuals as lead plaintiffs because it is contrary to the PSLRA’s intent—to eliminate lawyer-

driven litigation. The YRC Investor Group—a collection of five randomly grouped individuals

assembled by three law firms—is the epitome of lawyer-driven litigation that the PSLRA sought to

eliminate, and its motion should be denied.

         There is no evidence in the record that the members of the YRC Investor Group

(consisting of Sam Reynolds, Peter Szabo, Robert Hart, Robert Paradis and Rafael Gonzalez) have

any relationship preexisting this litigation, any experience as fiduciaries, or any experience

managing and overseeing multiple law firms in a complex class action. Further, there is no

explanation in the YRC Investor Group’s motion why they need three law firms to represent the

proposed class. 2 Indeed, the YRC Investor Group’s lawyers have a checkered history of moving

for lead plaintiff with groups of unrelated individuals found by courts to be inadequate under the

PSLRA.

         The Court should see the YRC Investor Group for what it is— an agglomeration of five

unrelated individuals cobbled together by three different law firms with no apparent relationship

other than their lawyers’ desire to secure a position in the Action as lead counsel—an artificial and


2
  Owing to the dearth of information in the record concerning the experience and sophistication
of the members of the YRC Investor Group, to assist the Court and Warwick in determining
whether each of the members of the YRC Investor Group are qualified under Rule 23, on March
11, 2019, Warwick’s counsel sent a letter to counsel for the YRC Investor Group requesting that
they provide information that would permit Warwick’s counsel to identify each member and
conduct research on their adequacy and typicality. See Exhibit A to the Declaration of Jeffrey P.
Campisi in Further Support of the Motion of the City of Warwick Retirement Fund for
Appointment as Lead Plaintiff and Approval of its Selection of Lead Counsel, and in Opposition
to Competing Motions, dated March 26, 2019 (the “Campisi Opp. Decl.”). Tellingly, counsel for
the YRC Investor Group did not respond to Warwick’s letter.



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wasteful structure that courts within the Second Circuit have repeatedly rejected as contrary to the

PSLRA’s intent to eliminate lawyer-driven class action litigation. 3

        Under the PSLRA and Second Circuit case law, Warwick is the “most adequate plaintiff”

and should be appointed Lead Plaintiff, and the YRC Investor Group’s motion should be denied.

II.     ARGUMENT

        A.      The YRC Investor Group Is an Improper Lawyer-Created Group That
                Contravenes the Intent of the PSLRA

        Following the PSLRA, courts in the Second Circuit reject artificial groups cobbled

together by their lawyers and created solely for purposes of amassing random investors’ losses to

assert the largest financial interest in the Action. “Many courts—including this one—have turned

away pastiche plaintiffs whose grouping appears to be solely a product of the litigation, because,

‘[t]o allow an aggregation of unrelated plaintiffs to serve as lead plaintiffs defeats the purpose of

choosing a lead plaintiff.’ ” Khunt v. Alibaba Grp. Holding Ltd., 102 F. Supp. 3d 523, 532

(S.D.N.Y. 2015) (citing In re Donnkenny Inc. Sec. Litig., 171 F.R.D. 156, 157 (S.D.N.Y. 1997);




 3
   On March 26, 2019, the YRC Investor Group filed a joint declaration in an effort to rehabilitate
 its defective motion. ECF No. 35-2. This late filing raises serious questions as to the YRC
 Investor Group’s adequacy and ability to oversee and supervise counsel. The joint declaration
 states that the YRC Investor Group, before making its lead plaintiff motion, approved “The
 Rosen Law Firm P.A. (“Rosen”) and Pomerantz LLP (“Pomerantz”) as Co-Lead Counsel” (ECF
 No. 35-2, ¶ 7; see also ¶¶ 10, 11), and does not mention retention of Glancy, Prongay, & Murray
 LLP (“Glancy”) or that they spoke to any lawyers at the Glancy firm. However, the YRC
 Investor Group’s lead plaintiff motion and opposition papers filed with the Court request that
 Pomerantz and Glancy be appointed as “Co-Lead Counsel” (ECF Nos. 10, 11-4, 11-5, 9-1
 (proposed order seeking appointment of Glancy and Pomerantz); ECF No. 35 (YRC Investor
 Group opposition brief seeking appointment of Pomerantz and Glancy). This unexplained
 contradiction is troubling and shows i) that the YRC Investor Group’s members do not
 understand who represents them; ii) that the YRC Investor Group members are not aware of or
 have not read the filings with the Court made on their behalf; iii) that their lawyers overruled
 their decisions; and/or (iv) that their lawyers made a request for appointment as co-lead counsel
 that was not authorized by their clients—facts that demonstrate that the YRC Investor Group is
 an inadequate lawyer-driven artifice controlled by counsel.


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see also In re Petrobras Sec. Litig., 104 F. Supp. 3d 618, 621, n.2 (S.D.N.Y. 2015) (collecting

cases). “Allowing unrelated plaintiffs to band together in order to manufacture a larger financial

interest . . . ensures that the lawyers, who are invariably the matchmakers behind such marriages of

convenience, are the true drivers of the litigation.” In re Petrobras Sec. Litig., 104 F. Supp. 3d at

621–22; see also Flanagan, Lieberman, Hoffman & Swaim v. Ohio Pub. Employees Ret. Sys., 814

F.3d 652, 658 (2d Cir. 2016) (stating that under the PSLRA the lead plaintiff—not its lawyers—are

“the driver of and decisionmaker for the class action.”). Moreover, lawyer-created groups with

multiple plaintiffs and multiple law firms create “problems of coordination, risks duplication of

effort, and reduces the incentive of any individual group member to carry out its lead plaintiff

duties to the fullest extent.” In re Petrobras Sec. Litig., 104 F. Supp. 3d at 622. To allow an

aggregation of unrelated plaintiffs to serve as lead plaintiffs defeats the purpose of preventing

lawyer-driven litigation. See In re Tarragon Corp. Sec. Litig., No. 07 CIV. 7972PKC, 2007 WL

4302732, at *1-*2 (S.D.N.Y. Dec. 6, 2007) (collecting cases) (citing In re Donnkenny Inc. Sec.

Litig., 171 F.R.D. 156, 157 (S.D.N.Y. 1997)).

        In considering whether a group of persons should serve as lead plaintiff, courts consider

factors such as “(1) the existence of a pre-litigation relationship between group members; (2)

involvement of the group members in the litigation thus far; (3) plans for cooperation; (4) the

sophistication of its members; and (5) whether the members chose outside counsel, and not vice

versa.” Teran v. Subaye, Inc., 11 CIV. 2614 NRB, 2011 WL 4357362, at *3 (S.D.N.Y. Sept. 16,

2011) (citing Varghese v. China Shenghuo Pharm. Holdings, Inc., 589 F. Supp. 2d 388, 397

(S.D.N.Y. 2008)). Courts also consider factors “such as the size of the group, whether the group

was formed in bad faith, and the relationship among the members of the group.” Bhojwani v.

Pistiolis, No. 06 CIV. 13761 CM NKF, 2007 WL 9228588, at *1 (S.D.N.Y. July 31, 2007).




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However, “in order to ‘enjoy the rebuttable presumption that the statute confers, there must be

some evidence that the members of the group will act collectively and separately from their

lawyers[]’” and “a proposed group must ‘proffer an evidentiary showing that unrelated members of

a group will be able to function cohesively and to effectively manage the litigation apart from their

lawyers before its members will be designated as presumptive lead plaintiffs.’ Teran, 2011 WL

4357362, at *3 (internal citations omitted).

        While their burden to do so, the members of the YRC Investor Group submitted no

evidence in support of their motion concerning how the so-called group would makes decisions,

how the group would resolve disputes, what, if any, relationship they had before the filing of their

joint motion, and whether they even knew that a motion was being filed on their behalf by three

law firms. 4 Nor is there evidence that the members have communicated with one another

regarding how the Action will be prosecuted. They have provided no evidence whether they have

a decision-making structure, how they intend to communicate with one another or their counsel,

how they will resolve disagreements, how they will supervise and control counsel, or how they

intend to function collectively.

        Furthermore, the YRC Investor Group has failed to show how a group of five individual

lead plaintiffs serves the best interest of the proposed class. If appointed, each member of the YRC

Investor Group would have to collect and produce documents, respond to defendants’ written



4
  In fact, the certifications of each of the YRC Investor Group’s members suggest just the
opposite. For example, the certification of Sam Reynolds states that he retained The Rosen Law
Firm, P.A., which is listed as Additional Counsel in the YRC Investor Group’s Motion (see ECF
Nos. 9 and 10), and makes no mention of Pomerantz or Glancy, the YRC Investor Group’s
proposed co-lead counsel. Further, based on the language used in their respective certifications
filed with their motion, compared to the form certifications Pomerantz and Glancy have posted
on their respective websites, it appears that Rafael Gonzalez submitted a certification to Glancy
and that Peter Szabo, Robert Hart, and Robert Paradis submitted certifications to Pomerantz.


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discovery, and prepare and sit for five individual depositions, likely in various locations across the

U.S. and Canada involving multiple law firms. See ECF No. 35-2 (stating that YRC Investor

Group’s members reside in Illinois; Arizona; California; Toronto, CA; and Montreal, CA). A five-

person group will lead to waste, unnecessary work and expense for which the YRC Investor

Group’s lawyers will inevitably seek reimbursement from any recovery of money for the proposed

class. This structure, in the event of a monetary recovery for the proposed class, sets up an

unwarranted tax on members of the proposed class that serves no one’s interests other than the

YRC Investor Group’s lawyers.

        Courts do not hesitate to deny a proposed group’s motion for lead-plaintiff status where

the movants “‘have not provided a sufficient evidentiary basis for aggregation or if the court

otherwise is persuaded that the proposed group has been assembled as a makeshift by attorneys for

the purpose of amassing an aggregation of investors purported to have the greatest financial

interest in the action.’” Teran, 2011 WL 4357362, at *3 (citing Varghese, 589 F. Supp. 2d at 392);

see also In re Third Ave. Mgmt. LLC Sec. Litig., No. 16-CV-02758 (PKC), 2016 WL 2986235, at

*2 (S.D.N.Y. May 13, 2016) (stating “courts in this district have largely rejected the aggregation of

individual shareholders who have no common connection other than their lawyers for purposes of

calculating financial interest under the PSLRA.”).

        The YRC Investor Group has not only failed to make the required “showing that unrelated

members of a group will be able to function cohesively and to effectively manage the litigation

apart from their lawyers . . . ”, but it has failed to provide any evidence whatsoever that it is an

appropriate group. See Teran, 2011 WL 4357362, at *3; see also Nakamura v. BRF S.A., No. 18-

CV-2213 (PKC), 2018 WL 3217412, at *3 (S.D.N.Y. July 2, 2018) (“A plaintiff group should not

be made lead plaintiff if it offers no evidentiary basis for aggregation or was ‘assembled as




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makeshift by attorneys’ in order to claim the greatest financial interest.”) (internal citations

omitted); see also In re Tarragon, 2007 WL 4302732, at *2 (“[T]o enjoy the rebuttable

presumption that the statute confers, there must be some evidence that the members of the group

will act collectively and separately from their lawyers.”); see also Int’l Union of Operating Eng’rs

Local No. 478 Pension Fund v. FXCM Inc., No. 15-cv-3599 (KMW), 2015 WL 7018024, at *4

(S.D.N.Y. Nov. 12, 2015) (rejecting group that “failed to provide the Court with anything beyond

conclusory assurances that appointing a group of unrelated investors will not lead to

fragmentation”).

        The YRC Investor Group is a lawyer-driven amalgamation that falls short of meeting the

adequacy requirements of Rule 23 of the Federal Rules of Civil Procedure and its motion should be

denied. See, e.g., In re Tarragon, 2007 WL 4302732, at *2 (refusing to consider the group of

unrelated class members that failed to provide evidence of its cohesiveness).

        B.      The YRC Investor Group Cannot Rehabilitate its Defective Motion with New
                Evidence

        The YRC Investor Group’s attempt to satisfy their evidentiary burden after filing their

motion should be rejected as untimely. See Pirelli Armstrong Tire Corp. Retiree Med. Benefits

Trust v. LaBranche & Co., 229 F.R.D. 395, 410 (S.D.N.Y. 2004) (“[PSLRA] . . . precludes

consideration of . . . any other pleading . . . filed after the sixty (60) day window has closed.”)

(emphasis in original); see also In re Telxon Corp. Sec. Litig., 67 F. Supp. 2d 803, 818 (N.D. Ohio

1999) (same). 5 The threshold adequacy showing should have been submitted with its initial lead

plaintiff motion. See generally 15 U.S.C. § 78u-4(a)(3)(A) (60-day deadline). Simply put, the

YRC Investor Group had ample opportunity to submit evidence with its original motion, but failed


5
 In the Action, the 60-day window expired on March 4, 2019, the date when Warwick and the
YRC Investor Group filed their respective motions.


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to do so. See Schriver v. Impac Mortg. Holdings, Inc., No. 8:06-cv-00031 CJC (RNBx), 2006 U.S.

Dist. LEXIS 40607, at *28 n.10 (C.D. Cal. May 2, 2006) (refusing to allow a group to submit

declarations demonstrating their cohesiveness where there was no reason the submissions could not

have been made with the initial motion); Ross v. Abercrombie & Fitch Co., No. 2:05-CV-819,

2007 WL 895073, at *4 n.3 (S.D. Ohio Mar. 22, 2007) (same); cf. In re NYSE Specialists,

240 F.R.D. 128, 142 (S.D.N.Y. 2007) (“[C]ourts have strictly construed this time limitation and

found those motions for appointment as lead plaintiff filed outside of the sixty-day window to

generally be time-barred.”). Any such submission by the YRC Investor Group should not be

considered by the Court at this late juncture.

        However, assuming arguendo, the Court were to consider such a belated evidentiary

submission by the YRC Investor Group, their motion should still be denied. The court’s decision

in Nakamura v. BRF S.A. is instructive on this point. In Nakamura, the lead plaintiff group in

question, a group consisting of two entities, did not submit evidence regarding the adequacy of the

group in their moving papers. Id. at *3. After the lead plaintiff deadline expired, the lead plaintiff

group submitted a joint declaration in an effort to rehabilitate its motion that stated, inter alia, “that

they will ‘oversee their counsel,’ ‘exercise joint decision-making,’ ‘actively monitor the activities

of their counsel,’ and that they ‘have established procedures for overseeing the progress of the

litigation and communicating regularly between ourselves and our counsel.’” Id. at *3. The Court

held that in making such “vague assurances” the lead plaintiff group had not satisfied their burden,

and noted that “the joint declaration has not made a satisfactory showing as to the sophistication of

the group’s proposed members” and did not explain “whether the members chose outside counsel,

and not vice versa” Id. at *3-4. (internal citation omitted). The Court here should similarly find

that the vague assurances offered by the YRC Investor Group are insufficient to establish its




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adequacy.

         C.     The YRC Investor Group Members Should Not Be Evaluated Individually

         Any argument by the YRC Investor Group that the Court may evaluate the losses of the

members of the YRC Investor Group individually should be rejected. Indeed, such an attempt at

disaggregation would confirm that there was never a legitimate basis for the grouping. To the

extent that any YRC Investor Group members may have individual losses greater than Warwick it

is irrelevant because the PSLRA requires class members seeking lead plaintiff appointment to file a

motion with the court. 15 U.S.C. §78u-4(a)(3)(A)(i)(II). The individual members of the YRC

Investor Group have not done so. The YRC Investor Group’s motion succeeds or fails as a

whole—the member’s individual losses should not be considered individually as potential lead

plaintiffs.

         Indeed, when faced with requests to disaggregate plaintiff groups during the parties’

briefing, courts have rejected such tactics. See, e.g., In re Petrobras, 104 F. Supp. 3d at 624 n.4

(refusing to evaluate group member with “the largest individual financial interest in the litigation”

because “it at no time sought to serve as individual lead plaintiff.”); In re Level 3 Commc’ns, Inc.

Sec. Litig., No. 09 Civ. 00200, 2009 WL 10684924, at *5 (D. Colo. May 4, 2009) (refusing to

consider the two members from the failed group, and holding that “[the group] did not request that

any of its constituents be appointed as lead plaintiff individually in the event the Court declined to

appoint the group. Therefore, neither [member] satisfies the prerequisite of the [PSLRA]’s lead

plaintiff provision that the person ‘made a motion’ in response to the notice of the putative class

action.”); Tsirekidze v. Syntax-Brillian Corp., No. 07-cv-2204, 2008 WL 942273, at *4 (D. Ariz.

Apr. 7, 2008) (“The Farrukh Group moved for lead plaintiff as a group and will be evaluated as

such.”); Ross, 2007 WL 895073, at *4 (“[t]here is no requirement in the [PSLRA] that the Court

realign a proposed group to cure a deficiency in adequacy of representation.”); Galmi v. Teva


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Pharm. Indus. Ltd., 302 F. Supp. 3d 485, 504 n.10 (D. Conn. 2017) (declining to consider

individual member of a group who did not move to be individually appointed because of the

court’s concerns that he was controlled by counsel).

        Moreover, if the YRC Investor Group suggests that it can be disaggregated, it would

confirm the lawyer-driven formation of the group and further call into question the adequacy of the

individual members to represent the class. See, e.g., Tsirekidze, 2008 WL 942273, at *4 (“The

Farrukh Group moved for lead plaintiff as a group and will be evaluated as such. The willingness

to abandon the group only suggests how loosely it was put together. Given no evidence of

cohesiveness, we are not convinced that the Farrukh Group will adequately represent this class.”);

Buettgen v. Harless, 263 F.R.D. 378, 382 (N.D. Tex. 2009) (determining that the “[group’s]

motion [was] undermined by the group’s invitation to the Court to hand-pick one of its constituents

to serve as lead plaintiff if the Court deem[ed] the [group] inappropriate.”). As such, any argument

that the Court may hand-pick one member of the YRC Investor Group as lead plaintiff should be

rejected.

        D.      The YRC Investor Group Failed to Explain Why Multiple Lead Counsel Are
                Necessary

        Warwick, which is represented by one firm (Kaplan Fox), will be able to effectively and

efficiently manage and control this litigation. See In re Petrobras, 104 F. Supp. 3d at 624 (finding

one institutional lead plaintiff was “far more likely to deliver the vigorous, investor-driven

representation to which the class is entitled than the multi-plaintiff, multi-firm groups that the

Court has rejected.”). In sharp contrast, the YRC Investor Group’s proposed three-firm counsel

structure is unwarranted and will lead to unnecessary duplication and waste of resources. The fact

that the YRC Investor Group could not work together to pick a single lead counsel, and instead ask

the Court to approve two different firms as co-lead counsel and a third additional counsel, is



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further evidence of inadequacy because it demonstrates a lack of cohesion, potential conflicts

among the members of the group, and strongly suggests that the YRC Investor Group is controlled

by its counsel.

        That the YRC Investor Group has proposed a wasteful and unnecessary three-law firm

counsel structure to represent the proposed class is further evidence that the YRC Investor Group is

not entitled to the presumption of adequacy.

        E.        Counsel for the YRC Investor Group Have a Checkered History of Moving
                  for Lead Plaintiff on Behalf of Lawyer-Created Groups That Courts Have
                  Rejected

        Further evidence of YRC Investor Group’s inadequacy is that it has asked the Court to

approve its “selection” of three law firms that have a checkered history of filing motions on behalf

of inadequate groups. The YRC Investor Group’s counsel (Pomerantz, Glancy, and The Rosen

Firm), all have a history of filing applications that several courts have determined to be

unsupported and lawyer-driven. See, e.g., Rabkin v. Lion Biotechnologies, Inc., No. 17-cv-02086-

SI (N.D. Cal.) (where the Pomerantz and The Rosen Law Firm withdrew lawyer-created group’s

motion after judicial scrutiny); Niederklein v. PCS Edventures!.com, Inc., No. 1:10-cv-00479-EJD-

CWD, 2011 WL 759553, at *6 (D. Idaho Feb. 24, 2011) (“there is nothing in the record

contravening the appearance that The Rosen Law Firm was not the driving force behind the

grouping”); Teran, 2011 WL 4357362, at *3-4 and n.5 (stating “It is apparent that the Pilney

Group was cobbled together by [The Rosen Law Firm] for purposes of making this motion and

becoming the lead plaintiff” and “It is worth noting that counsel for the Pilney Group, The Rosen

Law Firm, P.A., also represented the group rejected by Judge Marrero in Varghese.”); see also

Bhojwani v. Pistiolis, No. 06 CIV. 13761 CM KNF, 2007 WL 2197836, at *5-6 (S.D.N.Y. June 26,

2007), report and recommendation adopted, No. 06 CIV. 13761 CM NKF, 2007 WL 9228588

(S.D.N.Y. July 31, 2007) (denying lead plaintiff motion filed by Glancy on behalf of lead plaintiff


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“comprised of five unrelated members” because “[t]he possibility that lawyers formed the[]

group[] ‘to manipulate the selection process, and thereby gain control of the litigation’ is too great

to be disregarded because such machinations are precisely what PSLRA was enacted to restrict.”);

see also Galmi, 302 F. Supp. 3d at 495–96 (finding that “[a]bsent such evidence [of how the

proposed lead plaintiff group came to be introduced to each other], one must assume that they were

introduced by the two law firms, Pomerantz LLP and Cohen Milstein Sellers & Toll, PLLC, that

currently seek to represent the class in this action” and further describing in detail “circumstantial

evidence that the grouping of investor plaintiffs in this action (and [another] action) was the result

of an agreement between Pomerantz and Cohen Milstein. Such an agreement is evidence of exactly

the type of lawyer driven litigation that the PSLRA sought to avoid.”).

        Counsel for the YRC Investor Group’s conduct in Rabkin v. Lion Biotechnologies, Inc.,

No. 17-cv-02086-SI (N.D. Cal.) illustrates how quickly these firm’s so-called groups disintegrate

upon even the slightest judicial scrutiny. In Lion Biotechnologies, the court sua sponte ordered

individual lead plaintiff applicants of a so-called group to file a declaration setting forth, among

other facts, “how each individual came to retain his/her respective lawyer(s),” the Pomerantz and

The Rosen Law Firm. Instead of responding to the court’s order, the Pomerantz and The Rosen

Law Firm withdrew their clients’ motion. See Campisi Opp. Decl., Ex. B, C. The YRC Investor

Group should similarly withdraw its motion pending before this Court. 6



6
 Counsel for the YRC Investor Group has made similarly unsupported, lawyer-driven lead
plaintiff motions on behalf of individual investors as well. In Garbowski v. Tokai Pharms., Inc.,
Case No. 16-cv-11963-MLW (D. Mass.), in a telephonic hearing before the court, the lead
plaintiff movant testified that he did not speak to or retain his proposed lead counsel, Pomerantz,
before filing his lead plaintiff motion requesting their appointment as lead counsel. See Campisi
Opp. Decl., Ex. D (Garbowski v. Tokai Pharms., Inc., Case No. 16-cv-11963-MLW (D. Mass.),
Hearing Transcript, Oct. 10, 2017, at 18:10-12; 31:17-32:14; 33:18-34:3; 34:20-25). During the
same hearing, the proposed lead plaintiff further testified that, contrary to his sworn certification,



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         F.      Warwick Is the “Most Adequate Plaintiff” under the Exchange Act

         The Court has a meaningful alternative to the lawyer-created and wasteful structure

proposed by YRC Investor Group’s lawyers. Warwick—a sophisticated institutional investor—is

precisely the type of investor Congress sought, through the enactment of the PSLRA, to encourage

to assume a more prominent role in securities litigation. As Congress noted in its PSLRA

Statement of Managers Report, the PSLRA was designed “to increase the likelihood that

institutional investors will serve as lead plaintiff[],” in part, because “[i]nstitutional investors and

other class members with large amounts at stake will represent the interests of the plaintiff class

more effectively than class members with small amounts at stake.” In re Cendant, 264 F.3d at 244,

264 (quoting H.R. Rep. No. 104-327, at 34 (1995), reprinted in 1995 U.S.C.C.A.N. 730, 737)); see

also In re KIT Digital, Inc. Sec. Litig., 293 F.R.D. 441, 446 (S.D.N.Y. 2013) (noting the “statutory

preference for institutional lead plaintiffs”); Reitan v. China Mobile Games & Entm’t Group Ltd,

68 F. Supp. 3d 390, 396 (S.D.N.Y. 2014) (recognizing that “many courts have demonstrated a clear

preference for institutional investors to be appointed as lead plaintiffs,” and collecting cases); see

also In re Petrobras, 104 F. Supp. 3d at 624 (finding that one institutional lead plaintiff was “far

more likely to deliver the vigorous, investor-driven representation to which the class is entitled

than the multi-plaintiff, multi-firm groups that the Court has rejected.”); see also In re eSpeed, Inc.

Sec. Litig., 232 F.R.D. 95, 100 (S.D.N.Y. 2005) (holding that “a group of unrelated investors

should not be considered as lead plaintiff when that group would displace the institutional investor




he did not review a complaint before signing his certification (id. at 18:18-23), he was unaware
of the lead plaintiff’s responsibilities until after his motion was filed (id. at 34:1-35:4), and he
actually filled out a certification for a different law firm (id. at 55:8-18) that was subsequently
provided to a firm with whom Pomerantz was working. Seven days after the hearing, Pomerantz
withdrew the motion. Garbowski v. Tokai Pharms., Inc., Case No. 16-cv-11963-MLW (D.
Mass.), ECF No. 91, (Campisi Opp. Decl., Ex. E).


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preferred by the PSLRA”).

        Warwick satisfies the requirements of the PSLRA and Rule 23 and is, therefore, the most

adequate plaintiff and it should be appointed lead plaintiff and Kaplan Fox should be approved as

lead counsel for the proposed class.

III.    CONCLUSION

        For all of the foregoing reasons, Warwick respectfully requests that the Court: (1) appoint

Warwick as Lead Plaintiff; (2) approve Warwick’s selection of Kaplan Fox as Lead Counsel;

(3) deny the YRC Investor Group’s motion; and (4) grant such other relief as the Court may deem

just and proper.

Dated: March 26, 2019                             Respectfully submitted,

                                                  /s/ Jeffrey P. Campisi
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                                  CERTIFICATE OF SERVICE

       I, Jeffrey P. Campisi, hereby certify that, on March 26, 2019, I caused the foregoing to be

served on all counsel of record by filing the same with the Court using the CM\ECF system which

will send electronic notices of the filing to all counsel of record.

                                                      /s/ Jeffrey P. Campisi
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